                        IN THE UNITED STATES OF AMERICA
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              BRYSON CITY DIVISION

UNITED STATES OF AMERICA,                             )
                                                      )
v.                                                    )       CASE NO. 2:08CR36-1
                                                      )       (Financial Litigation Unit)
DANIELLE VICTORIA BIGWITCH,                           )
AKA/VICCI BIGWITCH,                                   )
                                                      )
and                                                   )
                                                      )
EASTERN BAND OF CHEROKEE INDIANS,                     )
               Garnishee.                             )

                                 ORDER OF GARNISHMENT

        THIS MATTER is before the Court on the answer of the Eastern Band of Cherokee Indians

(“Tribe”), as the Garnishee and the United States of America.

        On December 4, 2009, this Court sentenced the Defendant to serve 192 months incarceration

for her conviction of second degree murder, in violation of 18 U.S.C. §§ 1111,1153 and 2.

Judgment in a Criminal Case, filed December 22, 2009. As part of that Judgment, the Defendant

was ordered to pay an assessment of $100.00 and restitution of $863,233.68 to the victims of the

crime. Id. Subsequently, the United States sought to garnish defendant Danielle Victoria Bigwitch’s

gaming per capita revenue. On May 10, 2010, the Court entered a Writ of Continuing Garnishment

to the Eastern Band of Cherokee Indians. The United States is entitled to garnishment and has

satisfied the prerequisites set forth in 15 U.S.C. §1673.

        The Tribe filed and answer on July 1, 2010, and states that it is a sovereign Indian Nation

and; that it anticipates receiving future per capita distributions, generally in June and December of

each year.

        Indian tribes have traditionally been considered sovereign nations which possess common




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law immunity from suit; however, that immunity may be abrogated by Congress. C & L Enter., Inc.

v. Citizens Band of Potawatomi Indian Tribe of Oklahoma, 532 U.S. 411(2001). When Congress

enacted the Federal Debt Collection Procedure Act in 1990, (“FDCPA”), it defined a “garnishee”

as any person who has custody of any property in which the debtor has a substantial nonexempt

interest; and, it defined “person” as including an Indian tribe. 28 U.S.C. §§ 3002(7) and (10).

“Congress has the power to statutorily waive a tribe’s sovereign immunity.” Northern States Power

Co. v. Prairie Island Mdewakanton Sioux Indian Comty., 991 F.2d 458, 462 (8th Cir. 1993). The

Federal Debt Collection Procedure Act uses unequivocal language to waive this immunity. C&L

Enter., supra.

       As a result, the Tribe as the Garnishee, must pay over to the federal government any property

in which the Defendant has a nonexempt interest. United States v. Weddell, 12 F.Supp.2d 999, 1000

(D.S.D. 1998), aff’d, 187 F.3d 634 (table), 1999 WL 319323 (8th Cir. 1999). That property includes

a per capita distribution to tribal members of gaming revenues. Id.; accord, In re Kedrowski, 284

B.R. 439 (Bankr.W.D. Wis. 2002).

       IT IS THEREFORE, ORDERED that an Order of Garnishment is hereby ENTERED in

the amount of $862,242.68, computed through May 4, 2010, which attaches to each per capita

distribution of gaming revenues on account of the defendant Danielle Victoria Bigwitch, until the

full amount of the Judgment is satisfied.




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                                Signed: July 29, 2010




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